Case 3:20-cr-00479-B Document 1 Filed 10/06/20 Page1of13 PagelD1

O IR G | N Akin: UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
UNITED STATES OF AMERICA > - V/
Vv.
Criminal No.
JORDIN DAVIS (01)
ANDREW BERGER (02) 2.20CR0479-B
RUBEN BERGER (03)

INDICTMENT
The United States Grand Jury charges:
At all times material to this indictment:
Introduction

1. Title 18 U.S.C. §§ 922(a)(6) and 924(a)(1)(A) make it a crime for anyone
to make a false or fictitious oral or written statement to a licensed firearms dealer in order
to acquire a firearm. A statement is “false or fictitious” if it was untrue when made and
was then known to be untrue by the person making it.

2. The term “firearm” means any weapon that will or is designed to or may
readily be converted to expel a projectile by the action of an explosive. The term
“firearm” also includes the frame or receiver of any such weapon, or any firearm muffler
or firearm silencer, or destructive device.

3. Cash Plus Pawn located at 1618 North Highway 360, Grand Prairie, Texas,
(“Cash Plus Grand Prairie”) was a licensed firearms dealer within the meaning of Chapter

44, Title 18, United States Code, at all times specified in this Indictment.

Indictment — Page 1

 
Case 3:20-cr-00479-B Document1 Filed 10/06/20 Page 2of13 PagelD 2

4. A Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”) Form
4473, Firearms Transaction Record, must be completed by a prospective purchaser of a
firearm to affect the sale of a firearm from a licensed firearms dealer. Section A requires
the prospective purchaser to provide true, correct, and accurate information regarding the
prospective purchaser, including the street address where he or she is currently residing.
In addition, Question 1 1.a. requires the prospective purchaser to certify—aunder penalty
of law—that he or she is “the actual transferee/buyer of the firearm(s) listed on this

form,” which is a fact material to the lawfulness of the firearm sale.

Indictment — Page 2
Case 3:20-cr-00479-B Document 1 Filed 10/06/20 Page 3of13 PagelD3

Count One
Conspiracy to Acquire a Firearm from a
Licensed Firearms Dealer by False or Fictitious Statement
(Violation of 18 U.S.C. § 371 (18 U.S.C. § 922(a)(6))

5. Paragraphs | through 4 of this indictment are re-alleged and incorporated
by reference as though fully set forth herein.

6. Beginning on or about January 1, 2020 and continuing through on or about
May 20, 2020, in the Dallas Division of the Northern District of Texas, Jordin Davis,
Andrew Berger and Ruben Berger, the defendants, did knowingly, intentionally and
unlawfully combine, conspire, confederate, and agree together and with other persons
known and unknown to the Grand Jury, to commit a certain offense against the United
States, to-wit: Acquiring a Firearm from a Licensed Firearms Dealer by a False or

Fictitious Statement, in violation of 18 U.S.C. § 922(a)(6).

Objects of the Conspiracy

 

Te It was part of the conspiracy that Jordin Davis, Andrew Berger and
Ruben Berger, discussed and planned with each other and others the acquisition of
firearm(s) from a licensed dealer of firearms within the meaning of Chapter 44, Title 18,
United States Code, by false or fictitious statements intended or likely to deceive the
dealer with respect to any fact material to the lawfulness of the firearm sale.

Manner and Means

8. It was part of the conspiracy that Jordin Davis, Andrew Berger and

Ruben Berger formulated a plan and agreement which, among other things, included:

a. the selection of licensed firearms dealers;

Indictment — Page 3

 
Case 3:20-cr-00479-B Documenti1 Filed 10/06/20 Page4of13 PagelD4

b. the selection of the type of firearms to be purchased;
c. the acquisition of a firearms from a licensed firearms dealer;
d. the use of false and fictitious oral and written statements intended to

deceive the firearms dealer with respect to any fact material to the
lawfulness of the firearm sale;

e. falsely answering “Yes” to Question 11.a. on Bureau of Alcohol, Tobacco,
Firearms, and Explosives (“ATF”) Form 4473, Firearms Transaction
Record, in that the purchaser attests—under penalty of law—that he or she
is “the actual transferee/buyer of the firearm(s) listed on this form,” which
is a fact material to the lawfulness of a firearm sale; and

f. the subsequent transfer of the firearm to another.

Overt Acts in Furtherance of the Conspiracy

 

9. The following overt acts were committed by the coconspirators in
furtherance of the conspiracy:

a. On or about January 2, 2020, defendant Jordin Davis purchased a Taurus
PT1911, 45ACP, bearing serial number NAT47876 from Cash Plus Pawn Grand Prairie.
In connection with her purchase of the firearm, Davis falsely answered “Yes” to Question
11.a. on the ATF Form 4473 in that Jordin Davis attested—aunder penalty of law—that
she was “the actual transferee/buyer of the firearm(s)” listed—a fact material to the
lawfulness of a firearm sale—while knowing that this statement was false. Davis also
certified that her current residence was 6616 Mona Lisa Avenue, Watauga, Texas, a
statement that she knew to be false.

b. On or about January 2, 2020, after purchasing the Taurus PT1911, 45ACP
from Cash Pawn Plus Grand Prairie Jordin Davis provided this firearm to Andrew

Berger.

Indictment — Page 4

 
Case 3:20-cr-00479-B Document 1 Filed 10/06/20 Page5of13 PagelD5

C. On or about January 19, 2020, defendant Ruben Burger purchased a
Taurus 9 millimeter pistol, bearing serial number TMW30115 from Cash Plus Pawn
Grand Prairie. In connection with his purchase of the firearm, Ruben Berger falsely
answered “Yes” to Question 11.a. on the ATF Form 4473 in that Ruben Berger
attested—under penalty of law—that he was “the actual transferee/buyer of the
firearm(s)” listed—a fact material to the lawfulness of a firearm sale—while knowing
that this statement was false.

d. On or about January 19, 2020, defendant Ruben Berger provided the
Taurus 9 millimeter pistol, bearing serial number TMW30115 to defendant Andrew
Berger. The Taurus 9 millimeter pistol was recovered by law enforcement in the
possession of an individual other than Ruben Berger on January 30, 2020, 11 days after
it was purchased.

e. On or about February 1, 2020, defendant Jordin Davis purchased a Taurus
9 millimeter pistol, bearing serial number TMR20182 from Cash Plus Pawn Grand
Prairie. In connection with her purchase of the firearm, Davis falsely answered “Yes” to
Question | 1.a. on the ATF Form 4473 in that Jordin Davis attested—aunder penalty of
law—that she was “the actual transferee/buyer of the firearm(s)” listed—a fact material
to the lawfulness of a firearm sale—while knowing that this statement was false. Davis
also certified that her current residence was 6616 Mona Lisa Avenue, Watauga, Texas, a
statement that she knew to be false.

f. On or about February 1, 2020, after purchasing the Taurus 9 millimeter

pistol, bearing serial number TMR20182 from Cash Pawn Plus Grand Prairie Jordin

Indictment — Page 5

 
Case 3:20-cr-00479-B Document 1 Filed 10/06/20 Page 6of13 PagelD 6

Davis provided this firearm to Andrew Berger. The Taurus 9 millimeter pistol was
recovered by law enforcement in the possession of an individual other than Jordin Davis
on March 26, 2020, 54 days after it was purchased.

All in violation of 18 U.S.C. § 371 (18 U.S.C. § 922(a)(6)).

Indictment — Page 6

 
Case 3:20-cr-00479-B Document1 Filed 10/06/20 Page 7of13 PagelD 7

Count Two
Acquiring a Firearm from a Licensed Firearm Dealer
by False or Fictitious Statement; Aiding and Abetting
(Violation of 18 U.S.C. § 922(a)(6) and 2)

10. | Paragraphs | through 4 of this indictment are re-alleged and incorporated
by reference as though fully set forth herein.

11. Onor about January 2, 2020, in the Dallas Division of the Northern District
of Texas, defendant Jordin Davis, in connection with the acquisition of a firearm, to-wit:
a Taurus PT1911, 45ACP, bearing serial number NAT47876 from Cash Plus Pawn Grand
Prairie, a licensed dealer of firearms within the meaning of Chapter 44, Title 18 United
States Code, knowingly made a false and fictitious written statement to Cash Plus Pawn
Grand Prairie, which statement was intended and likely to deceive the Cash Plus Pawn
Grand Prairie as to a fact material to the lawfulness of such sale of said firearm to Jordin
Davis under Chapter 44 of Title 18, in that Jordin Davis did execute a Bureau of
Alcohol, Tobacco, Firearms, and Explosives (“ATF”) Form 4473, Firearms Transaction
Record, to the effect that she was the actual transferee/buyer of the firearm, when in fact,
as Jordin Davis then knew, she was not the actual transferee/buyer of this firearm.

In violation of 18 U.S.C. §§ 922(a)(6) and 2, the penalty for which is found at 18

U.S.C. § 924(a)(2).

Indictment — Page 7

 
Case 3:20-cr-00479-B Document 1 Filed 10/06/20 Page 8of13 PagelD 8

Count Three
False Statement with Respect to Information Required to be
Kept in Records of a Licensed Firearms Dealer; Aiding and Abetting
(Violation of 18 U.S.C. § 924(a)(1)(A) and 2)

12. Paragraphs 1 through 4 of this indictment are re-alleged and incorporated
by reference as though fully set forth herein.

13. Onor about January 2, 2020, in the Dallas Division of the Northern District
of Texas, defendant Jordin Davis made a false statement and representation to Cash Plus
Pawn Grand Prairie, a federally licensed firearms dealer under the provisions of Chapter
44 of Title 18, United States Code, with respect to information required by the provisions
of Chapter 44 of Title 18, United States Code, to be kept in the records of Cash Plus
Pawn Grand Prairie, in that Jordin Davis did execute a Bureau of Alcohol, Tobacco,
Firearms, and Explosives (“ATF”) Form 4473, Firearms Transaction Record, to the effect
that she was the actual transferee/buyer of a Taurus PT1911, 45ACP, bearing serial
number NAT47876, whereas in truth and in fact, she was not the actual transferee/buyer

of this firearm.

In violation of 18 U.S.C. § 924(a)(1)(A) and 2.

Indictment — Page 8
Case 3:20-cr-00479-B Document 1 Filed 10/06/20 Page9of13 PagelD9

Count Four
Acquiring a Firearm from a Licensed Firearm Dealer
by False or Fictitious Statement; Aiding and Abetting
(Violation of 18 U.S.C. § 922(a)(6) and 2)

14. Paragraphs 1 through 4 of this indictment are re-alleged and incorporated
by reference as though fully set forth herein.

15. Onor about January 19, 2020, in the Dallas Division of the Northern
District of Texas, defendant Ruben Berger, in connection with the acquisition of a
firearm, to-wit: a Taurus 9 millimeter pistol, bearing serial number TMW30115 from
Cash Plus Pawn Grand Prairie, a licensed dealer of firearms within the meaning of
Chapter 44, Title 18 United States Code, knowingly made a false and fictitious written
statement to Cash Plus Pawn Grand Prairie, which statement was intended and likely to
deceive the Cash Plus Pawn Grand Prairie as to a fact material to the lawfulness of such
sale of said firearm to Jordin Davis under Chapter 44 of Title 18, in that Ruben Berger
did execute a Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”) Form
4473, Firearms Transaction Record, to the effect that he was the actual transferee/buyer
of the firearm, when in fact, as Ruben Berger then knew, he was not the actual
transferee/buyer of this firearm.

In violation of 18 U.S.C. §§ 922(a)(6) and 2, the penalty for which is found at 18

U.S.C. § 924(a)(2).

Indictment — Page 9

 
Case 3:20-cr-00479-B Documenti1 Filed 10/06/20 Page 10o0f13 PagelD 10

Count Five
False Statement with Respect to Information Required to be
Kept in Records of a Licensed Firearms Dealer; Aiding and Abetting
(Violation of 18 U.S.C. § 924(a)(1)(A) and 2)

16. Paragraphs | through 4 of this indictment are re-alleged and incorporated
by reference as though fully set forth herein.

17. Onor about January 19, 2020, in the Dallas Division of the Northern
District of Texas, defendant Ruben Berger made a false statement and representation to
Cash Plus Pawn Grand Prairie, a federally licensed firearms dealer under the provisions
of Chapter 44 of Title 18, United States Code, with respect to information required by the
provisions of Chapter 44 of Title 18, United States Code, to be kept in the records of
Cash Plus Pawn Grand Prairie, in that Ruben Berger did execute a Bureau of Alcohol,
Tobacco, Firearms, and Explosives (“ATF”) Form 4473, Firearms Transaction Record, to
the effect that he was the actual transferee/buyer of a Taurus 9 millimeter pistol, bearing
serial number TMW30115, whereas in truth and in fact, he was not the actual

transferee/buyer of this firearm.

In violation of 18 U.S.C. § 924(a)(1)(A) and 2.

Indictment — Page 10

 
Case 3:20-cr-00479-B Document1 Filed 10/06/20 Page11o0f13 PagelD 11

Forfeiture Notice
(18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c))

Pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c), upon conviction for
violating 18 U.S.C. § 922(a)(6) and/or 18 U.S.C. § 924(a)(1)(A), the defendants, Jordin
Davis, Andrew Berger and Ruben Berger, shall forfeit to the United States of America
any firearm, magazine, and ammunition involved or used in the offense, including, but
not limited to, the following:

(1) a Taurus PT1911, 45ACP, bearing serial number NAT47876; and

(2) a Taurus 9 millimeter pistol, bearing serial number TMW30115.

Indictment — Page 11

 
Case 3:20-cr-00479-B Documenti1 Filed 10/06/20 Page12o0f13 PagelD 12

 

A TRUE BILL
FOREPERSON
ERIN NEALY COX

UNITED STATES ATTORNEY

 

 

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Indictment — Page 12
 
  
 
 
 
   
   
   
 
     
     
    
  
   
 

Case 3:20-cr-00479-B Documenti1 Filed 10/06/20 Page130f13 PagelD 13

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

JORDIN DAVIS (01)
ANDREW BERGER (02)
RUBEN BERGER (03)

 

INDICTMENT

(Violation of 18 U.S.C. § 371 (18 U.S.C. § 922(a)(6))
Conspiracy to Acquire a Firearm from a
Licensed Firearms Dealer by False or Fictitious Statement
(Counts 1)

(Violation of 18 U.S.C. § 922(a)(6) and 2)
Acquiring a Firearm from a Licensed Firearm Dealer
by False or Fictitious Statement; Aiding and Abetting

(Counts 2 and 4)

(Violation of 18 U.S.C. § 924(a)(1)(A) and 2)
False Statement with Respect to Information Required to be
Kept in Records of a Licensed Firearms Dealer; Aiding and Abetting
(Counts 3 and 5)

(18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c))
Forfeiture Notice

 

A true bill rendered

DALLAS FOREPERSON

 

Warrant to be Issued

 

 

UNITED STATES MAGISTRATE JUDGE
No Criminal Matter Pending
